                Case 3:20-cv-05376-BHS Document 46-3 Filed 01/12/21 Page 1 of 3


  From: gmarkham@nwlink.com
Subject:Re: Emailing: Policy.limits.demand.9.9.20.docx
   Date:October 1, 2020 at 5:07 PM
     To:Kevin Coluccio kc@coluccio-law.com, Joe Stacey jstacey@maritimelawyer.us, Nigel Stacey nstacey@maritimelawyer.us,
        Janelle Selk janelle@thetuckerlawfirm.com
    Cc: Lee Tucker lee@thetuckerlawfirm.com, Wanda Creitz Wanda@coluccio-law.com, Cindy Pentecost cpentecost@maritimelawyer.us


       I made some minor changes the reason I need the proceeds to be deposited in my trust
       account is the same as the ADD policy that I don’t think the court will approve the minor
       settlement under our rules without that condition and it has to have jurisdiction over them. I
       won’t stiff you and run off to Rio!

       The other is your letter appears to provide that Barcott has to Accept Barcott has to pay within
       10 days. They won’t do that if we haven’t gotten minor approval.




           Policy.limits.de   Policy.limits.de
           mand.1….20.pdf     mand.1…0.docx


           On Oct 1, 2020, at 4:47 PM, Kevin Coluccio <kc@coluccio-law.com> wrote:

           Thanks - we will make that correction - kc

           -----Original Message-----
           From: Nigel Stacey <nstacey@maritimelawyer.us>
           Sent: Thursday, October 1, 2020 4:47 PM
           To: Joe Stacey <jstacey@maritimelawyer.us>; Kevin Coluccio <kc@coluccio-law.com>;
           Gmarkham@nwlink.com; Lee Tucker <lee@thetuckerlawfirm.com>
           Cc: Janelle Selk <janelle@thetuckerlawfirm.com>; Wanda Creitz <Wanda@coluccio-
           law.com>; Cindy Pentecost <cpentecost@maritimelawyer.us>
           Subject: RE: Emailing: Policy.limits.demand.9.9.20.docx

           Lawler's first name is spelled "Jon" for page 2 of the letter. Otherwise good.

           Nigel T. Stacey
           Stacey & Jacobsen, PLLC
           4039 - 21st Avenue W., Ste 401
           Seattle, WA 98199
           (206) 282-3100

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           3100 and destroy the original transmission and its attachments without reading or saving in
    Case 3:20-cv-05376-BHS Document 46-3 Filed 01/12/21 Page 2 of 3


any manner. Thank you.


-----Original Message-----
From: Joe Stacey <jstacey@maritimelawyer.us>
Sent: Thursday, October 1, 2020 4:42 PM
To: Kevin Coluccio <kc@coluccio-law.com>; Gmarkham@nwlink.com; Nigel Stacey
<nstacey@maritimelawyer.us>; Lee Tucker <lee@thetuckerlawfirm.com>
Cc: Janelle Selk <janelle@thetuckerlawfirm.com>; Wanda Creitz <Wanda@coluccio-
law.com>; Cindy Pentecost <cpentecost@maritimelawyer.us>
Subject: RE: Emailing: Policy.limits.demand.9.9.20.docx

I'm good with this letter. Thanks

Joseph S. Stacey
Stacey & Jacobsen, PLLC
4039 - 21st Avenue W., #401
Seattle, WA 98199
206-282-3100
206-282-1149 fax

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-----Original Message-----
From: Kevin Coluccio <kc@coluccio-law.com>
Sent: Thursday, October 1, 2020 4:35 PM
To: Gmarkham@nwlink.com; Joe Stacey <jstacey@maritimelawyer.us>; Nigel Stacey
<nstacey@maritimelawyer.us>; Lee Tucker <lee@thetuckerlawfirm.com>
Cc: Janelle Selk <janelle@thetuckerlawfirm.com>; Wanda Creitz <Wanda@coluccio-
law.com>; Cindy Pentecost <cpentecost@maritimelawyer.us>
Subject: Emailing: Policy.limits.demand.9.9.20.docx

As noted during our conference call, we agreed to "nothing" in terms of division of policy limits
if Barcott agrees to pay it. I have attached the latest draft of the policy limits demand. Please
review and let me know if you have any comments or if we have authority to send out - kc
Case 3:20-cv-05376-BHS Document 46-3 Filed 01/12/21 Page 3 of 3
